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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
UNITED STATES OF AMERICA,                                 23-Cr-490 (SHS)

                  -v-                                     ORDER

ROBERT MENENDEZ, NADINE
MENENDEZ, WAEL HANA, JOSE
URIBE, and FRED DAIBES,

                          Defendants.

------------------------------------------------------x
SIDNEY H. STEIN, U.S. District Judge.

        The Court having received defendants' objections to the proposed protective order [Doc. No. 47],
the government is directed to file its reply on or before noon on Friday, October 6.

Dated: New York, New York
       October 5, 2023

                                                          SO ORDERED:
